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       Deputy Michael H. Smith




                                 UNITED STATES DISTRICT COURT
                                      DISTRICT OF OREGON
                                      PORTLAND DIVISION

KEVIN BRATCHER,                                                            Case No. 3:20-cv-02056-SB

                                  Plaintiff,
                                                         SUPPLEMENTAL DECLARATION OF
           v.                                            DEPUTY MICHAEL H. SMITH IN
                                                         SUPPORT OF REPLY IN FURTHER
POLK COUNTY; CITY OF SALEM;                              SUPPORT OF COUNTY DEFENDANTS’
DEPUTY MICHAEL H. SMITH, in his                          MOTION FOR SUMMARY JUDGMENT
individual capacity; and DOES 1-4, in their
individual capacity,

                                  Defendants.

           I, Michael H. Smith, hereby declare under penalty of perjury that the following is true

and correct:

           1.       I am currently a Deputy at the Polk County Sheriff’s Office. I have worked as a

sworn Deputy Sheriff with Polk County since September 18, 2014. This Declaration is offered

for the purposes of presenting testimony in support of the material facts relevant to and in

support of County Defendants’ Reply to Plaintiff’s Response to Defendants’ Motion for

Summary Judgment. I would testify to the truth of these matters at any proceeding in this case.




Page 1 –         SUPPLEMENTAL DECLARATION OF DEPUTY MICHAEL H. SMITH IN
                 SUPPORT OF REPLY IN FURTHER SUPPORT OF COUNTY
                 DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
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           2.       On September 6, 2019, I personally witnessed plaintiff throw papers from his

driveway onto the street. After plaintiff was secured in my patrol vehicle, I used my phone to

photograph the papers where they landed in the street. The three photographs were taken

between 11:22 a.m. and 11:23 a.m., as shown in the file name and confirmed by the internal

properties and details unique to each photograph. The photographs accurately depict the location

where I saw the papers land after plaintiff threw them. The papers were not moved or altered at

any time before I took the photographs. I subsequently removed the papers from the street and

entered them into evidence with the photographs and an audio recording of the incident.

           3.       Attached to this declaration and marked “Exhibit 2” is a true and accurate

photograph I personally took on September 6, 2019, showing the exact location where the papers

plaintiff threw landed in the street.

           4.       Attached to this declaration and marked “Exhibit 3” are true and accurate pages

from the Incident Report I drafted on September 6, 2019, showing I entered the photographs

referenced in paragraph 2 into evidence.

           I declare under penalty of perjury that the foregoing is true and correct.

           DATED this 12th day of April, 2022.

                                                             s/Michael H. Smith
                                                       Deputy Michael H. Smith




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                                  CERTIFICATE OF SERVICE
       I hereby certify that I served the foregoing SUPPLEMENTAL DECLARATION OF

DEPUTY MICHAEL H. SMITH IN SUPPORT OF REPLY IN FURTHER SUPPORT OF

COUNTY DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT on:

         Kevin T. Lafky
         Tonyia J. Brady
         Lafky & Lafky
         429 Court Street NE
         Salem, OR 97301
             Attorneys for Plaintiff

         Jennifer M. Gaddis
         City of Salem Legal Department
         555 Liberty St. SE, Room 225
         Salem, OR 97301
             Attorney for City of Salem

by the following indicated method or methods:

   ☒          by electronic means through the Court's Case Management/Electronic Case File system on
              the date set forth below;

              by emailing a copy thereof to each attorney at each attorney's last-known email address on the
              date set forth below;

              by mailing a full, true, and correct copy thereof in a sealed, first-class postage-prepaid envelope,
              addressed to the attorney’s last-known address listed above and depositing it in the U.S. mail at
              Salem, Oregon on the date set forth below.


       DATED this 19th day of April, 2022.

                                                                  s/Kenneth S. Montoya
                                                             Kenneth S. Montoya, OSB #064467
                                                             Attorney for Defendant Polk County




 CERTIFICATE OF SERVICE
